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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
 v.                                                )            Case No. 12-CR-0101-006-CVE
                                                   )                    (13-CV-0791-CVE-TLW)
 EDGARDO JASSO CHAVERO,                            )
 previously named as                               )
 Edgardo Chavero-Jasso,                            )
                                                   )
                Defendant.                         )

                                      OPINION AND ORDER

        On December 12, 2013, defendant Edgardo Jasso Chavero, a federal prisoner appearing pro

 se, filed a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (Dkt. # 239).

 Section 2255 provides that “[a] prisoner in custody under sentence of a court established by Act of

 Congress claiming the right to be released upon the ground that the sentence was imposed in

 violation of the Constitution or laws of the United States . . . may move the court which imposed the

 sentence to vacate, set aside or correct the sentence.”

                                                   I.

        On June 6, 2012, a grand jury returned an indictment charging defendant and others with

 conspiracy to distribute and to possess with intent to distribute at least 500 grams of

 methamphetamine, and the indictment contained a forfeiture allegation seeking the entry of a

 criminal forfeiture money judgment of at least $1,000,000. Dkt. # 2. Defendant made his initial

 appearance on June 27, 2012, and Jeffrey McGrew was appointed as defense counsel. Dkt. # 22.

  The government filed a motion (Dkt. # 60) seeking a ruling that the case was complex under the

 Speedy Trial Act, 18 U.S.C. § 3161 et al. The Court granted the motion and the jury trial was
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 continued to November 2012. A superseding indictment (Dkt. # 105) was returned on October 9,

 2012, but no new charges were filed against defendant.

        On October 30, 2012, defendant appeared for a change of plea hearing and he pled guilty to

 count one of the superseding indictment. Counsel for the government, Allen Litchfield, represented

 that he made a plea offer to defendant and that there were at least two versions of a proposed plea

 agreement submitted to defendant. Dkt. # 193, at 3. Defendant stated that he had received the

 proposed plea agreements and he agreed with the summary of the agreements provided by

 Litchfield. Id. at 4-5. Defendant’s answers to the Court’s questions made it unclear as to whether

 he believed he had an agreement with the government, and the Court allowed defendant to confer

 with his attorney to clarify whether he wished to proceed with or without a plea agreement. Id. at

 8. Defendant clarified that intended to change his plea without a plea agreement. Id. at 8-10.

 Defendant stated that he was fully satisfied with the advice of his attorney and that he was changing

 his plea of his own free will. Id. at 13-14. The Court advised defendant that he would be facing a

 mandatory minimum sentence of 10 years and a possible maximum sentence of life imprisonment,

 and defendant acknowledged that he understood the consequences of his guilty plea. Id. at 15. The

 Court also advised defendant that it would not know until it reviewed the presentence investigation

 report (PSR) if defendant would be eligible for a sentence below the statutory mandatory minimum.

 Id. Defendant acknowledged that he had discussed with defense counsel the application of the

 United States Sentencing Guidelines (USSG) to his case and that he might receive a sentence that

 differed from any estimate provided by his attorney. Id. at 18-19. The Court explained to defendant

 that he would be waiving certain constitutional rights by changing his plea, and defendant stated that

 he wished to voluntarily waive those rights. Id. at 21-24. The Court read the indictment to


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 defendant and asked defendant questions about the alleged offense. Id. at 25-26. Defendant

 admitted that he conspired with others to distribute methamphetamine and that the conspiracy

 involved at least 500 grams of methamphetamine. Id. at 27-28. Defendant denied that he

 communicated with Paez-Perez during the time period alleged in the indictment, but he did admit

 to talking to “Luis” and at least one of the named co-conspirators. Id. at 29-31. Litchfield stated

 the drug quantity was in excess of 500 grams and it was likely in the range of four to five kilograms,

 and defense counsel explained that he had advised defendant that the precise quantity would not be

 known until the PSR was prepared. Id. at 32. The Court inquired as to whether defendant would

 qualify for the safety valve, and defense counsel stated that he “we’re continuing to try to get that

 done” and that defendant had met with Litchfield two times. Id. at 33. The Court accepted

 defendant’s guilty plea. Id. at 35.

        Following the change of plea hearing, a PSR was prepared by the United States Probation

 Office, and the PSR conservatively estimated that defendant was responsible for between two and

 three kilograms of methamphetamine. This resulted in a base offense level of 34 and three points

 were deducted for acceptance of responsibility. Defendant had no criminal history points and, with

 a criminal history category of I, his advisory guideline range was 108 to 135 months. However,

 defendant was subject to a mandatory minimum sentence of 10 years, or 120 months, and the

 advisory guideline range effectively became 120 to 135 months. There was no recommendation that

 defendant was eligible for sentencing below the statutory mandatory minimum under USSG §

 5C1.2, the safety valve provision that would have allowed the Court to sentence defendant below

 the statutory mandatory minimum.




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        The sentencing hearing was set for March 6, 2013 and defendant appeared at the hearing

 with McGrew. Defendant asked the Court to appoint new defense counsel because there had been

 a breakdown in the attorney/client relationship. Dkt. # 223. The Court granted defendant’s request

 and appointed Stephen Knorr as substitute defense counsel, and the sentencing hearing was

 continued to May 15, 2013. Knorr appeared with defendant on May 15, 2013, and Knorr advised

 the Court that he did not object to the government’s decision not to recommend application of the

 safety valve. Dkt. # 248, at 2-3. In particular, Knorr acknowledged that defendant had not fully

 cooperated with the government and that the government had no further interest in meeting with

 defendant. Id. at 4. Defendant stated that he was simply a “consumer” of illegal drugs and he asked

 what he had done to merit a ten year prison sentence. Id. at 8-9. Litchfield explained that he had

 met with defendant three times and Knorr asked for a fourth meeting, but defendant was “[v]ery

 difficult, obstinate, reticent, [and] uncooperative.” Id. at 10. Defendant denied that the PSR had

 been read to him in Spanish, even though the interpreter present in the courtroom stated that she had

 read the PSR to defendant in Spanish more than 30 days before the hearing. Id. at 11-12. Counsel

 for both parties agreed that the hearing should be continued due to defendant’s claim that the PSR

 had not been read to him in Spanish, but Litchfield advised the Court that he would not reconsider

 his position on the safety valve. Id. at 12.

        The sentencing hearing was reset for June 20, 2013. The parties had no objections to the

 PSR but Knorr did ask the Court to impose a sentence at the low end of the advisory guideline

 range. Dkt. # 249, at 5. Defendant stated that he “was never a narco trafficker” and that he was a




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 “consumer,” and he denied that he ever sold drugs.1 Id. at 6. The Court sentenced defendant to the

 statutory mandatory minimum sentence of 120 months, and the judgment and commitment was filed

 on June 21, 2013. Knorr met with defendant after the sentencing hearing, and advised defendant of

 his appellate rights. Dkt. # 254-1, at 3. An interpreter was present for the meeting. The meeting

 lasted approximately one hour and 40 minutes. Knorr advised defendant that he was not aware of

 any colorable issues that could be raised on appeal, but Knorr would file an appeal if defendant

 could identify any issues that he wanted to raise on appeal. Id. Knorr stated that he would likely

 file an Anders brief2 if he believed that the issues had no merit. Id. Defendant did not identify any

 issues that could be the subject of an appeal, but he did complain about Knorr’s services during the

 sentencing hearing. Id. Knorr handed defendant a form entitled “Acknowledgment of Right to

 Appeal from Conviction and/or Sentence” and had the interpreter read the form to defendant. Id.

 Defendant initially refused to sign the form but, as Knorr was leaving, defendant stated that he did

 not want to appeal and he signed the form acknowledging that he did not want Knorr to file a direct

 appeal of his conviction or sentence. Id. at 6 (signed form).

        Defendant did not file a direct appeal and his conviction become final when his time to

 appeal expired on July 5, 2013. Defendant’s § 2255 motion (Dkt. # 239) was filed on December 12,

 2013. Thus, his § 2255 motion was filed within one year of the date his conviction became final,




 1
        In their affidavits, McGrew and Knorr agree that the discovery materials contain video and
        phone recordings establishing that defendant participated in two controlled buys with an
        undercover agent. Dkt. # 254-1, at 4; Dkt. # 254-2, at 3.
 2
        Under Anders v. California, 386 U.S. 738 (1967), defense counsel may request permission
        to withdraw on appeal by filing an Anders brief stating that he has reviewed the record and
        “determines that any appeal would be wholly frivolous.” See United States v. Calderon, 428
        F.3d 928, 930 (10th Cir. 2005).

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 and his § 2255 motion is timely under § 2255(f)(1). The Court ordered the government to file a

 response to defendant’s § 2255 motion. The government filed a response (Dkt. # 254) and defendant

 has filed a reply (Dkt. # 255).

                                                 II.

        Defendant asserts five claims of ineffective assistance of counsel concerning the performance

 of McGrew and Knorr: (1) Knorr failed to file a notice of appeal in violation of defendant’s timely

 request to appeal; (2) McGrew provided ineffective assistance of counsel by failing to ensure that

 defendant fully understood the consequences of a guilty plea; (3) defense counsel failed to conduct

 an adequate investigation into defendant’s participation in the drug conspiracy; (4) defense counsel

 failed to argue that defendant did not conspire to distribute at least 500 grams of methamphetamine;

 and (5) defense counsel was ineffective for failing to seek a downward departure under the safety

 valve provision.3 Defendant requests an evidentiary hearing on each of his claims. Dkt. # 239, at

 44; Dkt. # 260.

        To establish ineffective assistance of counsel, a defendant must show that his counsel’s

 performance was deficient and that the deficient performance was prejudicial. Strickland v.

 Washington, 466 U.S. 668, 687 (1984); Osborn v. Shillinger, 997 F.2d 1324, 1328 (10th Cir. 1993).

 A defendant can establish the first prong by showing that counsel performed below the level

 expected from a reasonably competent attorney in criminal cases. Strickland, 466 U.S. at 687-88.

 There is a “strong presumption that counsel’s conduct falls within the range of reasonable

 professional assistance.” Id. at 688. In making this determination, a court must “judge . . . [a]



 3
        Grounds three, four, and five could refer to the performance of McGrew and Knorr, and the
        Court will consider both McGrew and Knorr as defense counsel for these claims.

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 counsel’s challenged conduct on the facts of the particular case, viewed as of the time of counsel’s

 conduct.” Id. at 690. Moreover, review of counsel’s performance must be highly deferential. “[I]t

 is all too easy for a court, examining counsel’s defense after it has proved unsuccessful, to conclude

 that a particular act or omission of counsel was unreasonable.” Id. at 689.

        To establish the second prong, a defendant must show that counsel’s deficient performance

 prejudiced the defendant to the extent that “there is a reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have been different. A reasonable

 probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694; see also

 Lockhart v. Fretwell, 506 U.S. 364, 369-70 (1993). In Glover v. United States, 531 U.S. 198, 199

 (2001), the Supreme Court held that “any amount of actual jail time has Sixth Amendment

 significance.” Thus, the prejudice prong of the Strickland test does not require that any increase in

 sentence must meet a standard of significance. See United States v. Horey, 333 F.3d 1185, 1187-88

 (10th Cir. 2003).

                                                  A.

        Defendant argues (ground one) that he directed Knorr to file a notice of appeal following the

 sentencing hearing, and Knorr provided per se ineffective assistance of counsel by failing to file a

 notice of appeal. Dkt. # 239, at 16-20. The government has obtained an affidavit from Knorr, and

 Knorr states that defendant expressly instructed him not to file a notice of appeal. Dkt. # 254-1, at

 3. Knorr has also provided a waiver of appeal form executed by defendant. Id. at 6-7.

        Defendant claims that he asked Knorr to file a notice of appeal, because defendant believed

 that he received a sentence in excess of what was promised in the plea agreement. Dkt. # 239, at 16.

 Defendant believed that he would receive a sentence between 41 and 51 months imprisonment, and


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 he intended to argue on appeal that his sentence of 120 months was excessive.4 Id. Knorr presents

 a different version of the post-sentencing meeting with defendant. Knorr states that he met with

 defendant following the sentencing hearing, and he provided defendant a copy of the judgment and

 commitment and advised defendant of his appellate rights. Dkt. # 254-1, at 3. Knorr was unaware

 of any colorable issues for appeal, but he invited defendant to identify any issues that he wanted to

 appeal. Defendant did not identify any issues that could be raised on a direct appeal, and Knorr

 presented defendant with a form entitled “Acknowledgment of Right to Appeal from Conviction

 and/or Sentence.” Id. The interpreter read the form to defendant in Spanish. Id. Defendant refused

 to sign the form and the interpreter signed the form to show that the form had been read to

 defendant. Id. As Knorr was leaving, defendant stated that he did not want to file a direct appeal

 and he signed the portion of the form showing that he did not request Knorr to file an appeal. Id.

 However, Knorr advised defendant that he had 14 days from the date the judgment was entered to

 file an appeal, and he told defendant to contact Knorr if he changed his mind about filing an appeal.

 Id.

        The Supreme Court has clearly established that “a lawyer who disregards specific

 instructions from the defendant to file a notice of appeal acts in a manner that is professionally

 unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000). While there is no bright-line rule

 requiring a defense attorney to ask the defendant if he wishes to appeal, an attorney has a duty under

 the Sixth Amendment to the United States Constitution to consult with his client about the


 4
        As part of this claim, defendant states that he “accepts his guilt” and that he did not intend
        to file an appeal to challenge his conviction. Dkt. # 239, at 16. He also claims that Knorr
        was “retained” specifically to file a direct appeal, and that he “deliver[ed] his life and family
        assets” to Knorr. Dkt. # 255, at 13. Knorr was court-appointed counsel and defendant did
        not pay for Knorr’s services.

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 possibility of an appeal if the “particular defendant reasonably demonstrated to counsel that he was

 interested in appealing.” Id. at 480. This situation is an exception to the general rule that a

 defendant must show that his attorney’s error had an adverse effect on the proceedings to prevail on

 a claim on ineffective assistance of counsel, because a defense attorney’s failure to file an appeal

 results in the defendant’s forfeiture of a judicial proceeding. Id. at 483. A criminal defendant is not

 required to show that the appeal would have had merit. Id. at 486. The Tenth Circuit has held that

 an attorney who disregards a defendant’s request to file a notice of appeal is ineffective and this

 error is presumptively prejudicial. United States v. Snitz, 342 F.3d 1154, 1156 (10th Cir. 2003).

 The remedy for an attorney’s failure to file an appeal as requested by a defendant is granting the

 defendant leave to file a delayed appeal. United States v. Garrett, 402 F.3d 1262, 1267 (10th Cir.

 2005).

          In many cases, the Court would be required to hold an evidentiary hearing to resolve factual

 disputes as to defendant’s claim that he directed his attorney to file a notice of appeal, because

 defendant and Knorr have presented conflicting versions of the post-sentencing meeting. However,

 defendant executed a form indicating that he did not wish for Knorr to file a notice of appeal. See

 Dkt. # 254-1, at 6-7. There is undisputed evidence in the record that defendant did not direct Knorr

 to file a notice of appeal, and Knorr cannot be found ineffective for complying with defendant’s

 instructions concerning his decision not to appeal. Even after defendant signed the form, Knorr told

 defendant that he had 14 days to file an appeal and that defendant should contact Knorr if he

 changed his mind. Dkt. # 254-1, at 3. Defendant did not contact Knorr after the meeting and Knorr

 had no reason to believe that defendant wanted to file an appeal. The Court finds that defendant




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  expressly advised Knorr that he did not with to appeal his conviction or sentence, and Knorr did not

  provide ineffective assistance of counsel by failing to file a notice of appeal for defendant.

                                                   B.

         Defendant argues (ground two) that McGrew performed deficiently during the plea

  negotiation process, because he did not negotiate a plea agreement with the government and

  McGrew allegedly gave defendant inaccurate advice about the sentence he would likely receive.

  Dkt. # 239, at 21-28. The government responds that defendant received two proposed plea

  agreements, and he advised the Court that he had received the offers and intended to proceed without

  a plea agreement. Dkt. # 254, at 23-24. The government also notes that defendant was properly

  advised by the Court as to his statutory minimum mandatory sentence, and he cannot show that he

  received inaccurate information about the sentence he would receive. Id. at 25.

         According to defendant, McGrew failed to conduct plea negotiations with the government

  and he did not “seek a favorable plea agreement . . . .” Dkt. # 239, at 25. Defendant also faults

  McGrew for failing to explain the benefits of cooperating with the government, and he believes that

  he could have received a reduction in his sentence if he had been encouraged to cooperate. Id. He

  also generally argues that McGrew failed to conduct an adequate investigation before advising

  defendant to change his plea, but he does not identify any specific matters that should have been

  investigated. Even though defendant argues that McGrew failed to seek a favorable plea agreement,

  he claims that McGrew misrepresented the actual plea offers made by the government and that he

  erroneously advised defendant as to the contents of the proposed plea agreements.5 Id. at 28.


  5
         Defendant states that he “signed the plea-agreement” due to a misunderstanding of the
         contents of the plea agreement, but the record is clear that defendant rejected the plea
         agreements offered by the government. Dkt. # 193, at 8-10.

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         At defendant’s change of plea hearing, the Court inquired as to whether the government had

  made a plea offer to defendant, and counsel for the government, Litchfield, stated that two plea

  agreements had been offered to defendant. Dkt. # 193, at 3. Both plea agreements contained

  appellate and post-conviction waivers, a forfeiture agreement, consent to removal provisions, a no

  further prosecution agreement, and an agreement that the government would move for a third

  acceptance of responsibility point. Id. The proposed plea agreements differed as to the drug

  quantity and as to defendant’s cooperation. Id. The Court held a lengthy colloquy with defendant

  about the substance of the proposed plea agreements and his desire to proceed without a plea

  agreement, and defendant expressly rejected both of the proposed plea agreements on the record.

  Id. at 4-9. The Court advised defendant that he would be facing a statutory mandatory minimum

  sentence of 10 years imprisonment and that the Court would not know until the sentencing hearing

  if defendant qualified for a sentence below mandatory minimum. Id. at 15. Defendant was also

  informed that the Court was not bound any sentencing estimate provided by defense counsel. Id.

         McGrew states that he met with defendant several times before the change of plea hearing

  and he reviewed the discovery materials with defendant. Dkt. # 254-2, at 3. Defendant repeatedly

  denied that he had any involvement in the charged drug conspiracy, and McGrew advised defendant

  there were videos and phone records showing that defendant participated in two controlled buys with

  an undercover police officer. Id. There was also extensive evidence showing that defendant

  communicated with other co-conspirators. Defendant refused to identify potential witnesses that

  could be helpful for his defense and he would not talk about his personal or family history. Id.

  McGrew advised defendant that he would be sentenced to no less than 10 years imprisonment unless

  he was eligible for the safety valve, but McGrew did not tell defendant that the government would


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  agree to recommend a sentence of 41 to 56 months. Id. McGrew explained that defendant would

  have to meet all five requirements of the safety valve provision to receive a sentence below 10 years

  imprisonment, and one of these requirements was that defendant provide complete and truthful

  cooperation. Id. at 5. McGrew arranged three meetings with Litchfield and federal agents, but the

  agents found that defendant was not being truthful. McGrew states that he advised defendant of the

  proposed plea agreements and that defendant chose to proceed without a plea agreement. Id.

         The Court finds that the record does not support defendant’s allegations that he received

  ineffective assistance of counsel during the time leading up to his change of plea hearing, and

  defendant was on notice from his attorney and the Court that he would be subject to a 10 year

  statutory mandatory minimum sentence unless he qualified for the safety valve. Defendant makes

  conflicting allegations as to his awareness of the proposed plea agreements. However, the Court

  reviewed the proposed plea agreements with defendant and he affirmed that he wished to proceed

  without a plea agreement. As to defendant’s belief that he would receive a sentence between 41 and

  56 months, the Court advised defendant that he would be subject to a 10 year mandatory minimum

  sentence and that his sentence could differ from any estimate provided by defense counsel. There

  is ample evidence in the record that defendant did not qualify for the safety valve due to his

  unwillingness to provide complete and truthful cooperation, and defendant cannot fault his attorneys

  if he did not receive a sentence below the statutory mandatory minimum. Even if the Court were

  to assume that McGrew misrepresented the applicable guideline range, “[a] miscalculation or

  erroneous sentence estimation by defense counsel is not a constitutionally deficient performance

  rising to the level of ineffective assistance of counsel.” United States v. Gordon, 4 F.3d 1567, 1570

  (10th Cir. 1993). Defendant has also made no specific allegations as to issues that allegedly should


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  been investigated by defense counsel before the change of plea hearing, and the Court rejects his

  claim that McGrew failed to conduct an adequate investigation before the change of plea hearing.

  Ground two of defendant’s § 2255 motion is denied.

                                                   C.

         Defendant claims (ground three) that defense counsel was ineffective for failing to

  investigate his participation in the conspiracy alleged in the indictment. Dkt. # 239, at 29-36.

  Defendant’s argument consists of references to general conspiracy law and one short paragraph

  highlighting his alleged minimal involvement in the conspiracy. Defendant also argues (ground

  four) that defense counsel was ineffective because he failed to argue that defendant did not conspire

  to distribute at least 500 grams of methamphetamine. The government responds that defendant

  admitted to his participation in the conspiracy and the drug quantity, and there was overwhelming

  evidence connecting defendant to the conspiracy. Dkt. # 254, at 26.

         At the change of plea hearing, the Court asked defendant questions about the conspiracy

  charge and his involvement in the alleged conspiracy, and defendant admitted that he agreed with

  one or more persons to distribute methamphetamine. Dkt. # 193, at 27. Defendant spoke to other

  co-conspirators about obtaining methamphetamine and defendant sold methamphetamine to an

  undercover police officer. Id. Defendant admitted that he drove to Tulsa, Oklahoma to purchase

  methamphetamine and that at least some acts in furtherance of the conspiracy occurred in the

  Northern District of Oklahoma. Id. at 27-28. He acknowledged that the overall scope of the

  conspiracy involved at least 500 grams of methamphetamine. Id. at 28. Defendant knew another

  member of the conspiracy as “Luis,” although he did not know this person’s actual name. Id. at 29.

  Litchfield explained that phone records linked defendant to the leader of the conspiracy, Paez-Perez,


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  and Paez-Perez’s drug ledgers identified defendant as Tiende.           Id. at 30. Defendant made

  approximately 470 calls to Paez-Perez and he also made 169 phone calls to Cesar Palafox during

  the conspiracy. Id. at 31. Defendant admitted that he spoke to Palafox about purchasing

  methamphetamine. Id. at 31-32. Litchfield declined to take a firm position on the amount of drugs

  involved in the conspiracy, but he estimated that the drug quantity was at least four to five

  kilograms. Id. at 32. Defendant stated that he was voluntarily changing his plea to guilty, and the

  Court found that his admissions were sufficient to support a conviction. Id. at 34.

         In his § 2255 motion, defendant makes a general argument that he was not a member of the

  charged conspiracy based on his belief that his sole act in furtherance of the conspiracy was a single

  sale of 98 grams of methamphetamine. Dkt. # 239, at 36, 42. However, he admitted at the change

  of plea hearing that the scope of the conspiracy involved at least 500 grams of methamphetamine.

  In a drug conspiracy case, a defendant is held responsible not only for his own conduct but also for

  the reasonably foreseeable conduct of other co-conspirators that is within the scope of the

  conspiracy. United States v. Foy, 641 F.3d 455, 469 (10th Cir. 2011). While defendant may believe

  that he was a minor participant in the conspiracy, he has made no specific allegations tending to

  show that the overall scope of the conspiracy involved less than 500 grams. The affidavits of

  McGrew and Knorr show that each attorney thoroughly reviewed and understood the discovery, and

  they went over the discovery with defendant. Dkt. # 254-1, at 4; Dkt. # 254-2, at 3. Both attorneys

  state that defendant was unwilling to accept the weight of the evidence against him. Id. The Court

  also notes that defendant makes no argument that he would have gone to trial if McGrew had

  conducted additional investigation before trial, and it is unclear how he could establish prejudice

  based on the arguments contained in grounds three and four of his § 2255 motion. The Court finds


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  that McGrew and Knorr had no reasonable basis to challenge defendant’s involvement in the

  conspiracy or that the conspiracy involved at least 500 grams of methamphetamine, and grounds

  three and four of defendant’s § 2255 motion are denied.

                                                    D.

         Defendant’s final argument (ground five) is that defense counsel failed to argue for a

  sentence below the statutory mandatory minimum under the safety valve provision of the USSG.

  Dkt. # 239, at 42. The government responds that defense counsel did seek a reduction of

  defendant’s sentence under USSG § 5C1.2, but counsel for the government and defendant agreed

  that defendant did not qualify for the safety valve due to his failure to provide complete and truthful

  cooperation. Dkt. # 254, at 29.

         Under USSG § 5C1.2, a district court may impose a sentence below a statutory mandatory

  minimum if five requirements are satisfied:

         (1)     the defendant does not have more than 1 criminal history point, as
                 determined under the sentencing guidelines before application of subsection
                 (b) of §4A1.3 (Departures Based on Inadequacy of Criminal History
                 Category);

         (2)     the defendant did not use violence or credible threats of violence or possess
                 a firearm or other dangerous weapon (or induce another participant to do so)
                 in connection with the offense;

         (3)     the offense did not result in death or serious bodily injury to any person;

         (4)      the defendant was not an organizer, leader, manager, or supervisor of others
                 in the offense, as determined under the sentencing guidelines and was not
                 engaged in a continuing criminal enterprise, as defined in 21 U.S.C. § 848;
                 and

         (5)     not later than the time of the sentencing hearing, the defendant has truthfully
                 provided to the Government all information and evidence the defendant has
                 concerning the offense or offenses that were part of the same course of
                 conduct or of a common scheme or plan, but the fact that the defendant has

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                 no relevant or useful information to provide or that the Government is
                 already aware of the information shall not preclude a determination by the
                 court that the defendant has complied with this requirement.

  Complete and truthful cooperation is an essential element that must be established for a defendant

  to qualify for the safety valve. In this case, there was agreement among Litchfield, McGrew, and

  Knorr that defendant failed to cooperate with the government and that defendant was not eligible

  for the safety valve. McGrew arranged three meetings for defendant to present his evidence to

  Litchfield and federal agents, and each time defendant refused to cooperate. Knorr attempted to

  arrange a fourth meeting, but defendant refused to provide additional information to the government

  and Knorr believes that Litchfield acted in good faith by declining Knorr’s request for a fourth

  meeting. Dkt. # 254-1, at 5. The record shows that both McGrew and Knorr advocated for a

  reduction of defendant’s sentence under the safety valve provision, but defendant was unwilling to

  cooperate with the government and rendered himself ineligible for relief under the safety valve. The

  Court finds that defense counsel actively sought relief for defendant under the safety valve and that

  defendant’s own conduct was responsible for the inapplicability of this provision of the USGG, and

  defendant’s fifth ground for relief is denied.

         IT IS THEREFORE ORDERED that defendant’s motion to vacate, set aside, or correct

  sentence pursuant to 28 U.S.C. § 2255 (Dkt. # 239) is denied. A separate judgment is entered

  herewith.

         IT IS FURTHER ORDERED that defendant’s Motion for an Evidentiary Hearing (Dkt.

  # 260) is denied.

         DATED this 17th day of March, 2015.




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